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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


JASMINE M. FERGUSON,

                                                 Civil Action No.:
                                Plaintiff,
vs.                                              JURY TRIAL
                                                 DEMANDED
LEXISNEXIS RISK SOLUTIONS,
                              Defendant.



                                   COMPLAINT

      Jasmine M. Ferguson, (“Plaintiff”), a living, breathing consumer, brings this

Complaint against LexisNexis Risk Solutions (“LexisNexis”) and states as follows:


                                INTRODUCTION

       1.   The computerization of our society has resulted in a revolutionary

 increase in the accumulation and processing of data concerning individual

 American consumers. Data technology, whether it is used by businesses, banks,

 the Internal Revenue Service or other institutions, allows information concerning

 individual consumers to flow instantaneously to requesting parties. Such timely

 information is intended to lead to faster and better decision-making by its recipients
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and, in theory, all of society should ultimately benefit from the resulting

convenience and efficiency.

     2.    However, unfortunately this information has also become readily

available for, and subject to, mishandling and misuse. Individual consumers can

and do sustain substantial damage, both economically and emotionally, whenever

inaccurate or fraudulent information is disseminated and/or obtained about them.

In fact, Defendant acknowledges this potential for misuse and resulting damage

every time they sell their credit monitoring services to a consumer.

     3.    The ongoing technological advances in the area of data processing have

resulted in a boon for the companies that accumulate and sell data concerning

individuals’ credit histories and other personal information. Such companies are

commonly known as consumer reporting agencies (“CRAs”).

     4.    Defendant LexisNexis is a CRA as defined by the Fair Credit Reporting

Act, 15 U.S.C. § 1681a(f).

     5.    These CRAs sell information to readily paying subscribers (i.e.,

retailers, landlords, lenders, potential employers, and other similar interested

parties), commonly called “consumer reports,” concerning individuals who may

be applying for retail credit, housing, employment, or a car or mortgage loan.
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       6.   Since 1970, when Congress enacted the Fair Credit Reporting Act, 15

 U.S.C. § 1681 et seq. (“FCRA”), federal law has required CRAs to implement and

 utilize reasonable procedures “to assure maximum possible accuracy” of the

 personal, private, and financial information that they compile and sell about

 individual consumers.

       7.   One of the primary purposes in requiring CRAs to assure “maximum

 possible accuracy” of consumer information is to ensure the stability of our

 banking system:

      The banking system is dependent upon fair and accurate credit
      reporting. Inaccurate credit reports directly impair the efficiency of the
      banking system, and unfair credit reporting methods undermine the
      public confidence which is essential to the continued functioning of the
      banking system.

See 15 U.S.C. § 1681(a)(1).

       8.   The preservation of one’s good name and reputation is also at the heart

 of the FCRA’s purposes:

      [W]ith the trend toward computerization of billings and the
      establishment of all sorts of computerized data banks, the individual is
      in great danger of having his life and character reduced to impersonal
      “blips” and key-punch holes in a stolid and unthinking machine which
      can literally ruin his reputation without cause, and make him
      unemployable or uninsurable, as well as deny him the opportunity to
      obtain a mortgage or buy a home. We are not nearly as much concerned
      over the possible mistaken turn-down of a consumer for a luxury item
      as we are over the possible destruction of his good name without his
      knowledge and without reason. * * * [A]s Shakespeare said, the loss of
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      one’s good name is beyond price and makes one poor indeed (emphasis
      added).

Bryant v. TRW, Inc., 689 F.2d 72, 79 (6th Cir. 1982) [quoting 116 Cong. Rec.

36570 (1970)].

       9.   The FCRA also requires CRAs to conduct a reasonable reinvestigation

 to determine whether information disputed by consumers is inaccurate and record

 the current status of the disputed information, or delete the disputed information,

 before the end of the 30-day period beginning on the date on which the CRA

 receives the notice of dispute from the consumer. This mandate exists to ensure

 that consumer disputes are handled in a timely manner and that inaccurate

 information contained within a consumer’s credit report is corrected and/or deleted

 so as to not prevent said consumer from benefiting from his or her credit and

 obtaining new credit.

       10. In light of these important findings and purposes, Congress specifically

 noted “a need to insure that [CRAs] exercise their grave responsibilities with

 fairness, impartiality, and respect for the consumer’s right to privacy.” See 15

 U.S.C. § 1681(a)(4).

       11. This action seeks actual, statutory, and punitive damages, costs and

 attorneys’ fees for Plaintiff against Defendant for their willful and/or negligent
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violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., as described

herein.


                                 THE PARTIES

     12. Plaintiff Jasmine M. Ferguson (“Plaintiff”) is a natural person who

resides in the State of Ohio, and is a “consumer” as that term is defined in 15 U.S.C.

§ 1681a(c).

     13. Defendant LexisNexis Risk Solutions (“LexisNexis”) is a limited

liability company that resides in the State of Georgia and in the Northern District.

     14. LexisNexis is a “consumer reporting agency” as defined in 15 U.S.C. §

1681a(f). LexisNexis is regularly engaged in the business of assembling,

evaluating, and disseminating information concerning consumers for the purpose

of furnishing consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.


                        JURISDICTION AND VENUE

     15. This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

§ 1331 and 15 U.S.C. § 1681p, which allows claims under the FCRA to be brought

in any appropriate court of competent jurisdiction.
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      16. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims

occurred in this District.

      17. Plaintiff mailed multiple written disputes regarding inaccurate

information in his LexisNexis credit report to LexisNexis located in Fulton County;

Atlanta, Georgia.

      18. Defendant LexisNexis received Plaintiff's multiple written disputes in

Fulton County; Atlanta, Georgia.

      19. Upon receipt of Plaintiff's disputes, Defendant LexisNexis forwarded

such disputes to furnishers via Automated Consumer Dispute Verification

electronic forms. Upon completion of its investigations furnishers responded to

Defendant LexisNexis' electronic communications, which originated from Atlanta,

Georgia, by sending its results electronically to Defendant LexisNexis in Fulton

County; Atlanta, Georgia

      20. Defendant LexisNexis then processed the dispute results from

furnishers at its National Consumer Assistance Center in Atlanta, Georgia, and

mailed Plaintiff its final dispute results from Atlanta, Georgia.


                                     FACTS

                  Summary of the Fair Credit Reporting Act
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     21. The FCRA governs the conduct of consumer reporting agencies in an

effort to preserve the integrity of the consumer banking system and to protect the

rights of consumers to fairness and accuracy in the reporting of their credit

information.

     22. The purpose of the FCRA is to require consumer reporting agencies to

“adopt reasonable procedures for meeting the needs of commerce for consumer

credit, personal, insurance, and other information in a manner which is fair and

equitable to the consumer, with regard to the confidentiality, accuracy, relevancy,

and proper utilization of such information….” 15 U.S.C. § 1681(b).

     23. The FCRA further requires that when preparing consumer reports a

consumer reporting agency must follow “reasonable procedures to assure

maximum possible accuracy of the information concerning the individual about

whom the report relates.” 15 U.S.C. § 1681e(b).

               The Credit Bureau’s Processing of Credit Information

     24. Defendant regularly receives information from various sources around

the country including banks, credit unions, automobile dealers, student loan

providers, public information vendors, and others.

     25. These sources are known as “furnishers” within the credit reporting

industry and under the FCRA.
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      26. Defendant collects information from thousands of furnishers.

      27. The process by which Defendant receives, sorts, and stores information

is largely electronic.

      28. Furnishers report credit information to Defendant through the use of

coded tapes that are transmitted on a monthly basis through software known as

Metro 2.

      29. Defendant takes the credit information reported by furnishers and

creates consumer credit files.

      30. Defendant maintains credit files on millions of consumers.

      31. Credit files are updated electronically by the furnishers to reflect new

information regarding the reported accounts (sometimes referred to within the

industry as “tradelines”).

                         LexisNexis’ Mixed File Problem

      32. Defendant knows that different consumers can have similar names.

      33. Defendant knows that different consumers can have similar Social

Security numbers.

      34. Defendant knows that different consumers with similar names can also

have similar Social Security numbers.
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         35. Defendant knows that public records often do not contain identifying

information such as Social Security numbers or dates of birth.

         36. Defendant matches tradelines and public records to a consumer credit

file by comparing the information about the consumer associated with the tradeline

or public record to the information they maintain about the consumer in the

consumer’s credit file or files.

         37. Defendant accomplishes this matching of credit information to

consumer credit files through the use of certain matching algorithms or database

rules.

         38. Sometimes Defendant’s matching algorithms matches information

belonging to one consumer to the credit file of another consumer; resulting in what

is commonly known in the industry as a mixed or merged credit file.

         39. Mixed files are not a new phenomenon. In fact, as long ago as the early

1990s, the Federal Trade Commission (“FTC”) (the government agency charged

with enforcement of the FCRA), entered into individual Consent Decrees with each

of the three major CRAs, Equifax, Experian, and Trans Union, regarding their

significant failures and deficiencies with respect to mixed files.
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        40. Despite Defendant’s long-standing and specific knowledge of the

mixed file problem, Plaintiff’s credit report was still generated by Defendant

containing information belonging to another consumer.

        41. A mixed or merged credit file is the result of Defendant inaccurately

mixing personal identifying information and credit information and/or an entire

credit file belonging to one consumer into the credit file of another consumer.

        42. There are many different possible causes for the mixing of credit files

but all of them relate in one way or another to the algorithms (the database rules)

used by Defendant to match personal identifying information and credit

information, including public record information, to a particular consumer’s credit

file.

        43. The success or failure of these algorithms and rules is both a function

of the rules themselves and of the information provided by the furnishers of the

tradeline information to Defendant.

        44. A mixed consumer report could be caused by an improper algorithm

just as it could be caused by the inaccurate reporting of a consumer’s personal

“indicative” information (e.g., name, Social Security number, address, date of

birth, etc.) by the furnishers to Defendant.
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     45. These rules also determine which credit files are selected by the

algorithm and merged to create a complete consumer report.

     46. Therefore, a mixed consumer report is sometimes the result of the

mixing of two or more consumer credit files belonging to different consumers into

one consumer report.


 The Credit Bureau Defendant’s Practices Concerning the Sale of Credit
                     Reports on the “Deceased”

     47. Defendant LexisNexis sells millions of consumer reports (often called

“credit reports” or “reports”) per day, and also sell credit scores.

     48. Pursuant to 15 U.S.C. § 1681e(b), consumer reporting agencies, like

Defendant LexisNexis, are required “to follow reasonable procedures to assure

maximum possible accuracy of the information concerning the individual about

whom the report relates.”

     49. Pursuant to 15 U.S.C. §§ 1681b and 1681e(a), consumer reporting

agencies, like Defendant, must maintain reasonable procedures to assure that

reports are sold only for legitimate “permissible purposes.”

     50. Defendant LexisNexis routinely places a “deceased” notation or

marking on credit reports when they are advised by any of their many data
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furnishing sources (such as banks and debt collectors) that a given consumer is

deceased.

     51. Defendant LexisNexis’ furnishing sources identify “deceased”

consumers by marking the “status” of such consumer’s responsibility for any

subject account with an “X” code in the “ECOA” field of an electronic data input

format used in the credit reporting industry, known as Metro or Metro 2.

     52. Defendant LexisNexis does not request or require a death certificate

from any of their data sources which advise that a consumer is “deceased” before

placing a “deceased” mark in that consumer’s credit file.

     53. Defendant LexisNexis does not request or require any proof from any

data source which advises that a consumer is “deceased” showing that the

consumer is, in fact, deceased before placing a “deceased” mark on that

consumer’s report.

     54. Defendant LexisNexis does not independently verify with any source

or furnisher that a consumer is, in fact, deceased before placing a “deceased” mark

on that consumer’s report.

     55. In some cases, in order to assure accuracy, Defendant LexisNexis may

send letters and/or other communications to consumers when certain information

that may be considered suspicious or unreliable is furnished about said consumers
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to be placed in their credit files, such as in cases where consumers have a freeze or

fraud alert on their credit report, or in accordance with certain state laws, such as

the consumer laws of Colorado. Defendant LexisNexis does not have any

procedure to notify consumers (such as a next of kin or executor or administrator

of the consumer’s estate) when an “X” deceased code is furnished to it to be placed

in said consumer’s credit file or report.

     56. Defendant LexisNexis regularly receives the “Death Master File” from

the Social Security Administration, including weekly and/or monthly updates,

listing by social security number those consumers that the government believes to

be deceased. But Defendant LexisNexis does not cross-reference the “X” code

received from data furnishers with the Death Master File in order to determine

whether any given consumer reported as deceased via a furnishing source is also

on the Death Master File before selling a credit report about said consumer, or at

any time.

     57. Defendant LexisNexis will only use the Death Master File to sell

additional products for an additional fee, which are designed to show whether a

given consumer is truly deceased.

     58. Defendant LexisNexis does not employ any procedures at all to assure

that a consumer with a “deceased” mark on their report is, in fact, actually deceased
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before placing the “deceased” mark on that consumer’s report and selling that

report for profit.

      59. Even in instances where other data on the face of the consumer’s report

indicates that he/she is not deceased, Defendant LexisNexis does not employ any

procedures to assure that a consumer with a “deceased” mark on their report is, in

fact, actually deceased before placing the “deceased” mark in that consumer’s file.

      60. Even in instances where the purportedly deceased consumer

communicates directly with Defendant LexisNexis, Defendant LexisNexis does

not employ any procedures to assure that a consumer with a “deceased” mark on

their report is, in fact, actually deceased before placing the “deceased” mark on

that consumer’s report.

      61. Once a “deceased” mark is placed upon a consumer’s report, Defendant

LexisNexis will not calculate and will not provide a credit score for that consumer.

      62. Upon Defendant LexisNexis’s reports with a “deceased” mark sold to

third parties, Defendant LexisNexis never calculates or provides a credit score for

that consumer and instead reports that consumer’s credit score as “N/A.”

      63. Defendant LexisNexis knows that third party credit issuers require a

credit score in order to process a given credit application.
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      64. Defendant LexisNexis knows that consumers without credit scores are

unable to secure any credit from most credit issuers.

      65. Defendant LexisNexis knows that living consumers are routinely

turned down for credit specifically because they are reporting them as “deceased”

and without a credit score.

      66. Defendant LexisNexis has been put on notice for years through

consumer disputes and lawsuits that living, breathing consumers are turned down

for credit specifically because they are reporting them as “deceased” and without

a credit score.

      67. Defendant LexisNexis has received and documented many disputes

from consumers complaining that their credit reports had them erroneously marked

as “deceased.”

      68. Defendant LexisNexis knows that thousands of consumers are

erroneously marked as “deceased” on their credit reports via an erroneous

furnishing of the “X” code, even when said consumers (and their dates of birth and

social security numbers) are not on the Death Master File and are, in fact, alive.

      69. Nevertheless, Defendant LexisNexis does not employ any procedures

to assure that a consumer marked as “deceased” on their credit reports is, in fact,

deceased.
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     70. Even consumers who dispute the erroneous “deceased” status on their

LexisNexis credit report continue to be erroneously marked as deceased unless the

furnishing source which provided the erroneous “X” code in the first instance

decides to change the code.

     71. Defendant LexisNexis does not have any independent procedure to

change an erroneous deceased status on their own and will merely parrot their

furnishing source in the case of a reinvestigation into the accuracy of the deceased

status upon a consumer’s report, a reinvestigation which is triggered by a consumer

dispute.

     72. Nor does LexisNexis employ any procedures to limit or stop the

furnishing of reports to third parties for consumers that they have marked as

“deceased” under any circumstances.

     73. For years after a consumer’s actual death, Defendant LexisNexis will

continue to sell credit reports about that consumer.

     74. Defendant LexisNexis will only remove a deceased consumer’s file

from their respective credit reporting databases when it is no longer valuable to

them—meaning that no one is continuing to purchase reports about that consumer.
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      75. Defendant LexisNexis charges third parties a fee for reports with a mark

that a consumer is deceased (“reports on the deceased”) as they would for any other

report.

      76. Defendant LexisNexis profits from the sale of reports on deceased

consumers.

      77. Defendant LexisNexis has in their credit reporting database many

“deceased” tradelines corresponding to distinct credit files for individual

consumers that they have marked as “deceased.”

      78. Defendant LexisNexis know that truly deceased consumers do not

apply for credit.

      79. Defendant LexisNexis knows that the credit information and reports of

truly deceased persons are used by criminals to commit identity theft or credit

fraud. Indeed, identity theft using the personal identifying information of deceased

consumers is known to Defendant LexisNexis to be a common and major source

of identity theft.

      80. Defendant LexisNexis knows that identity theft and credit fraud are

serious and widespread problems in our society.

      81. Defendant LexisNexis warns the relatives of truly deceased consumers

that identity theft can be committed using the credit reports and information of the
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deceased, and require relatives to provide a death certificate or executorship

papers, among other forms of proof, before accessing the deceased consumer’s

credit information or report.

     82. Defendant LexisNexis has no similar death certificate, executorship

paper, or any other proof requirements for their data sources, which report a

consumer as deceased or for the purchasers of their reports who access the

purportedly deceased consumer’s information.

     83. Defendant LexisNexis sells reports on supposedly deceased consumers

to third parties in an automated fashion and without any specific or general

certification that could reasonably explain a “permissible purpose” for purchasing

or using a (supposedly) deceased consumer’s credit history and/or report.

     84. For consumers who are deceased, there rarely, if ever, exists a

permissible purpose under the FCRA for Defendant LexisNexis to sell their credit

reports, absent a court order.

     85. Defendant LexisNexis knows that such reports contain a vast amount

of personal identifying and credit account information on the supposedly deceased

consumer, information that can be used to commit identity theft or for other

fraudulent purposes.
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Capital One Bank Denies Plaintiff Credit Card Due to Defendant LexisNexis’
             Inaccurate Credit Reporting on March 25, 2022

      86. On or about March 25, 2022, Plaintiff attempted to obtain credit for a

credit card and submitted a credit application.

      87. Shortly thereafter, in or about March 25, 2022, Capital One Bank

denied Plaintiff’s credit application based upon the contents of Plaintiff’s credit

report.

      88. Specifically, LexisNexis was reporting deceased on Plaintiff’s credit

report.

      89. Plaintiff takes great pride in Plaintiff’s good name and established

credit rating and works hard to ensure that Plaintiff’s bills are paid in-full and on-

time each month. Plaintiff believes and understands that Plaintiff’s credit record

with Plaintiff’s creditors is good, so Plaintiff could not imagine how Plaintiff’s

credit application had been denied.


Plaintiff Sees that Defendant LexisNexis is Reporting Deceased on September
                                   2, 2022

      90. As of September 2, 2022, a deceased notation was reflected in the

Plaintiff’s LexisNexis credit report:

           Date of Death: November 15, 2014
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      91. As of September 2, 2022, the above-referenced notation was reporting

 inaccurately in Plaintiff’s LexisNexis credit report because Plaintiff is not

 deceased.


Flexshopper, LLC Denies Plaintiff Credit Card Due to Defendant LexisNexis’
            Inaccurate Credit Reporting on September 12, 2022


      92. On or about September 12, 2022, Plaintiff sought to obtain credit for a

 credit card and submitted a credit application.

      93. Shortly thereafter, in or about September 12, 2022, Flexshopper, LLC

 denied Plaintiff’s credit application based upon the contents of Plaintiff’s credit

 report.

      94. Specifically, LexisNexis was reporting deceased on Plaintiff’s credit

 report.

      95. Plaintiff takes great pride in Plaintiff’s good name and established

 credit rating and works hard to ensure that Plaintiff’s bills are paid in-full and on-

 time each month. Plaintiff believes and understands that Plaintiff’s credit record

 with Plaintiff’s creditors is good, so Plaintiff could not imagine how Plaintiff’s

 credit application had been denied.
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         Plaintiff’s Dispute with LexisNexis on September 13, 2022

      96. On or about September 13, 2022, feeling shocked, surprised, and

embarrassed because of Defendant’s inaccurate reporting, Plaintiff mailed a

written dispute via certified mail/disputed by telephone to LexisNexis, disputing

the deceased notation in Plaintiff’s credit report. Plaintiff requested that

LexisNexis reinvestigate the disputed information, correct the reporting, and send

corrected copies of Plaintiff’s credit report.

      97. Plaintiff’s September 12, 2022 dispute specifically included Plaintiff’s

full name, date of birth, Social Security number, and current address so that the

credit bureaus would be able to properly identify and locate Plaintiff’s credit file.


  The Credit Bureaus’ Method for Considering Consumer Credit Report
                               Disputes

      98. The credit industry has constructed a method of numeric-alpha codes

for considering consumer credit report disputes. See 15 U.S.C. § 1681i(a)(5)(D).

      99. The credit bureaus, LexisNexis, Equifax, Experian, Trans Union, and

Innovis, have thus created the Online Solution for Complete and Accurate

Reporting, or e-OSCAR, as the credit industries’ standard of performance. e-

OSCAR allows the credit bureaus to create and data furnishers to respond to

disputes initiated by consumers by routing credit reporting agency-created prompts
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for automated consumer dispute verifications to the appropriate data furnishers. e-

OSCAR utilizes a numeric-alpha language specific to the credit reporting industry.

     100. That lexicon or unique language is commonly referred to in the credit

reporting industry as “Metro II.” It is also known industry wide as the CDIA’s

“Credit Reporting Resource Guide.”

     101. Metro II is driven by numeric codes that translate into specific alpha

representations about consumers’ creditworthiness and character that will

ultimately appear on credit reports issued to third parties who make credit,

insurance, rental, and employment decisions regarding consumers.

     102. Metro II codes are used on an industry wide form known within the

credit industry as an Automated Consumer Dispute Verification (“ACDV”)

electronic form.

     103. The ACDVs have many fields in their body for use in effecting

thorough and complete communications between data furnishers and the credit

reporting agencies.

     104. These ACDV “fields” have various titles for the many substantive areas

into which the Metro II codes can be entered.
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     105. Upon receiving a dispute from a consumer, the credit bureaus have an

automated system that prepares ACDVs that are sent to each of the data furnishers

that are reporting the credit accounts disputed by a consumer.

     106. The data furnishers then have an obligation under the FCRA to conduct

a reasonable reinvestigation with respect to the disputed credit account and review

all relevant information provided by the consumer with the dispute to determine

whether the disputed credit account information is accurate and/or belongs to the

disputing consumer. See 15 U.S.C. § 1681s-2(b).

     107. Once the data furnisher completes its reinvestigation, it will code the

ACDV accordingly, representing either that the disputed account was verified as

accurate and belonging to the disputing consumer, updating information related to

the account, or deleting the account entirely, and return the ACDV to the respective

credit bureau(s) via e-OSCAR.


          LexisNexis’ Response to Plaintiff’s September 2022 Dispute


     108. Following the dispute, LexisNexis completed its reinvestigation of

Plaintiff’s dispute and returned the results of its 15 U.S.C. § 1681i dispute

reinvestigation to Plaintiff. LexisNexis failed to properly reinvestigate and delete
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the deceased notation on the disputed credit account, which continued to appear on

Plaintiff’s LexisNexis credit report.


        Plaintiff’s Mixed LexisNexis Credit File as of October 17, 2022


     109. Upon information and belief, as of October 17, 2022, Plaintiff’s

LexisNexis credit report contained the following name, which belongs to another

consumer:

            Jamie Ferfuson

     110. Plaintiff’s LexisNexis credit report contained the following deceased

notation in the Plaintiff’s LexisNexis credit report:

            Date of Death: November 15, 2014

     111. Plaintiff’s LexisNexis credit report contained a social security number

which belongs to another consumer.

     112. Defendant mixed another consumer’s personal and account information

into Plaintiff’s credit reports despite the fact that numerous discrepancies exist

between their personal identification information. The discrepancies that should

have caused Defendant to realize Plaintiff is not the same person as this other

consumer include the following:
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          a) Plaintiff’s legal name is Jasmine M. Ferguson and the personal and

              account information Defendant mixed into Plaintiff’s credit reports

              belongs to another consumer; and

          b) Plaintiff’s Social Security number is different than the other

              consumer’s Social Security number.


Capital One Bank Denies Plaintiff Credit Card Due to Defendant LexisNexis’
             Inaccurate Credit Reporting on October 19, 2022

      113. On or about October 19, 2022, Plaintiff sought to obtain credit for a

credit card and submitted a credit application.

      114. Shortly thereafter, in or about October 19, 2022, Capital One Bank

denied Plaintiff’s credit application based upon the contents of Plaintiff’s credit

report.

      115. Specifically, LexisNexis was reporting deceased on Plaintiff’s credit

report.

      116. Plaintiff takes great pride in Plaintiff’s good name and established

credit rating and works hard to ensure that Plaintiff’s bills are paid in-full and on-

time each month. Plaintiff believes and understands that Plaintiff’s credit record

with Plaintiff’s creditors is good, so Plaintiff could not imagine how Plaintiff’s

credit application had been denied.
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          Plaintiff’s Dispute with LexisNexis on November 16, 2022

     117. On or about November 16, 2022, feeling shocked, surprised, and

embarrassed because of Defendant’s inaccurate reporting, Plaintiff mailed a

written dispute via certified mail/disputed by telephone to LexisNexis, disputing

the deceased notation in Plaintiff’s credit report. Plaintiff requested that

LexisNexis reinvestigate the disputed information, correct the reporting, and send

corrected copies of Plaintiff’s credit report.

      118. Plaintiff’s November 16, 2022 dispute specifically included Plaintiff’s

full name, date of birth, Social Security number, and current address so that the

credit bureaus would be able to properly identify and locate Plaintiff’s credit file.


          LexisNexis’ Response to Plaintiff’s November 2022 Dispute


     119. Defendant LexisNexis did not respond to Plaintiff’s dispute.

      120. Defendant LexisNexis did not indicate that Plaintiff’s dispute was

found to be frivolous or irrelevant.

      121. Defendant LexisNexis failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).
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      122. Defendant LexisNexis failed to provide the requested credit disclosure

in violation of 15 U.S.C. § 1681g.

      123. In the last two years, Plaintiff has disputed the Defendant’s reporting

Plaintiff as deceased, causing credit denials, which will be further identified during

discovery.

      124. At all times pertinent hereto, Defendant LexisNexis was acting by and

through their agents, servants, and/or employees who were acting within the course

and scope of their agency or employment, and under the direct supervision and

control of the Defendant herein.

      125. At all times pertinent hereto, the conduct of Defendant LexisNexis, as

well as that of their agents, servants, and/or employees, was intentional, willful,

reckless, and in grossly negligent disregard for federal law and the rights of

Plaintiff herein.

      126. As a result of the “deceased” annotations contained throughout

Plaintiff’s credit reports, Defendant LexisNexis made it practically impossible for

Plaintiff to obtain credit.

      127. As a standard practice, Defendant LexisNexis does not conduct

independent investigations in response to consumer disputes. Instead, they merely

parrot the response of the furnisher despite numerous court decisions admonishing
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this practice. See Cushman v. Trans Union Corp., 115 F.3d 220, 225 (3d Cir. 1997)

(“The ‘grave responsibilit[y]’ imposed by § 1681i(a) must consist of something

more than merely parroting information received from other sources. Therefore, a

‘reinvestigation’ that merely shifts the burden back to the consumer and the credit

grantor cannot fulfill the obligations contemplated by the statute.”); Apodaca v.

Discover Fin. Servs., 417 F. Supp. 2d 1220, 1230–31 (D.N.M. 2006) (noting that

credit reporting agencies may not rely on automated procedures that make only

superficial inquiries once the consumer has notified it that information is disputed);

Gorman v. Experian Info. Sols., Inc., 2008 WL 4934047, at *6 (S.D.N.Y. Nov. 19,

2008).

      128. Consistent with their standard policies and procedures, Defendant

LexisNexis automatically generated their “investigation” results once the

aforementioned furnishers provided their responses to Plaintiff’s disputes,

verifying that Plaintiff was deceased, and no employee from any of the credit

bureaus took any additional steps to review Plaintiff’s documentation, information,

or the Social Security Administration’s (“SSA”) Death Master File, which

Defendant purchases from the SSA, after the furnishers provided their responses

to Plaintiff’s disputes.
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      129. Instead, Defendant LexisNexis blindly accepted the aforementioned

furnishers’ incomplete version of the facts and continued to report the inaccurate,

derogatory information on Plaintiff’s credit reports, namely, that he is deceased.

      130. Defendant LexisNexis continues the practice of parroting the response

from furnishers even though they have been repeatedly sued for failing to conduct

reasonable investigations as required by the FCRA.

      131. Defendant LexisNexis do not intend to modify their dispute-processing

procedures because doing so would drastically increase their operating expenses.

      132. Instead, Defendant LexisNexis intentionally choose not to comply with

the FCRA to lower their costs. Accordingly, Defendant LexisNexis’ violations of

the FCRA are willful.

      133. At all times pertinent hereto, Defendant LexisNexis was acting by and

through their agents, servants, and/or employees who were acting within the course

and scope of their agency or employment, and under the direct supervision and

control of the Defendant herein.

      134. At all times pertinent hereto, the conduct of Defendant LexisNexis, as

well as that of their agents, servants, and/or employees, was intentional, willful,

reckless, and in grossly negligent disregard for federal law and the rights of

Plaintiff herein.
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                            CLAIMS FOR RELIEF

                               COUNT I
                          15 U.S.C. § 1681e(b)
  Failure to Follow Reasonable Procedures to Assure Maximum Possible
                                Accuracy

     135. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-134 as if fully stated herein.

     136. The FCRA mandates that “[w]henever a consumer reporting agency

prepares a consumer report it shall follow reasonable procedures to assure

maximum possible accuracy of the information concerning the individual about

whom the report relates.” 15 U.S.C. § 1681e(b).

     137. On multiple occasions, Defendant LexisNexis prepared patently false

consumer reports concerning Plaintiff.

     138. Despite actual and implied knowledge that Plaintiff is not dead,

Defendant LexisNexis readily sold such false reports to one or more third parties,

thereby misrepresenting Plaintiff, and ultimately, Plaintiff’s creditworthiness.

     139. Defendant LexisNexis violated 15 U.S.C. § 1681e(b) by failing to

establish or to follow reasonable procedures to assure maximum possible accuracy

in the preparation of the credit reports and credit files they published and maintain

concerning Plaintiff.
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     140. As a result of Defendant LexisNexis’ conduct, action, and inaction,

Plaintiff suffered damage by loss of credit; loss of the ability to purchase and

benefit from his/her1 credit; being chilled from seeking credit opportunities; the

expenditure of time and money disputing and trying to correct the blatantly

inaccurate credit reporting; and emotional distress including the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials, fear of

financial difficulty, and the inability to obtain credit for important life purchases.

     141. Defendant LexisNexis’ conduct, action, and inaction was willful,

rendering them liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

     142. Plaintiff is entitled to recover attorneys’ fees and costs from Defendant

LexisNexis in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681n and/or § 1681o.

                                   COUNT II
                                15 U.S.C. § 1681i
              Failure to Perform a Reasonable Reinvestigation
          (Second Claim for Relief Against Defendant LexisNexis)


     143. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-134 as if fully stated herein.
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     144. The FCRA mandates that Defendant LexisNexis conduct an

investigation of the accuracy of information “[i]f the completeness or accuracy of

any item of information contained in a consumer’s file” is disputed by the

consumer. See 15 U.S.C. § 1681i(a)(1). The Act impose a 30-day time limitation

for the completion of such an investigation. Id.

     145. The FCRA provides that if Defendant LexisNexis conduct an

investigation of disputed information and confirm that the information is in fact

inaccurate, or are unable to verify the accuracy of the disputed information, they

are required to delete that item of information from the consumer’s file. See 15

U.S.C. § 1681i(a)(5)(A).

     146. On multiple occasions during 2020 and 2021, Plaintiff sent written

disputes to Defendant LexisNexis, pleading with them to comply with their

statutory reinvestigation obligations and correct and/or delete specific items in

his/her1 credit files that are patently inaccurate, misleading, and highly damaging

to him and his ability to obtain credit, namely, references to him being “deceased.”

     147. Either Defendant LexisNexis conducted no investigation of Plaintiff’s

disputes, or such investigations were so shoddy as to allow patently false and

highly damaging information to remain in Plaintiff’s credit files, namely, the

deceased notations.
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     148. Defendant LexisNexis violated 15 U.S.C. § 1681i on multiple

occasions by failing to conduct a reasonable reinvestigation to determine whether

the disputed information was inaccurate and record the current status of the

disputed information, or delete the disputed information, before the end of the 30-

day period beginning on the date on which they received the notices of dispute

from Plaintiff; and by failing to maintain reasonable procedures with which to filter

and verify disputed information in Plaintiff’s credit files.

     149. As a result of Defendant LexisNexis’s conduct, action, and inaction,

Plaintiff suffered damage by loss of credit; loss of the ability to purchase and

benefit from his credit; being chilled from seeking credit opportunities; the

expenditure of time and money disputing and trying to correct the blatantly

inaccurate credit reporting; and emotional distress including the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials, fear of

financial difficulty, and the inability to obtain credit for important life purchases.

     150. Defendant LexisNexis’ conduct, action, and inaction was willful,

rendering them liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.
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     151. Plaintiff is entitled to recover attorneys’ fees and costs from Defendant

LexisNexis in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681n and/or § 1681o.

                                   COUNT III
                                15 U.S.C. § 1681g
                   Failure to Provide Disclosures to Plaintiff
     152. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-134 as if fully stated herein.

     153. Defendant violated 15 U.S.C. § 1681g by failing to provide Plaintiff’s

credit disclosure after each request.

     154. As a result of Defendant’s conduct, action, and inaction, Plaintiff

suffered damage by loss of credit; loss of the ability to purchase and benefit from

Plaintiff’s credit; detriment to Plaintiff’s credit rating; the expenditure of time and

money disputing and trying to correct the inaccurate credit reporting; and

emotional distress including the mental and emotional pain, anguish, humiliation,

and embarrassment.

     155. Defendant’s conduct, action, and inaction was willful, rendering them

each separately liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.
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         156. Plaintiff is entitled to recover attorney's fees and costs from Defendant

 in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

 § 1681o.




                              PRAYER FOR RELIEF

     WHEREFORE, Plaintiff prays for relief as follows:

     a)       Determining that Defendant negligently and/or willfully violated the

              FCRA;

     b)       Awarding Plaintiff actual damages, statutory, and punitive damages as

              provided by the FCRA;

     c)       Awarding Plaintiff reasonable attorneys’ fees and costs as provided by

              the FCRA; and

     d)       Granting further relief, in law or equity, as this Court may deem

              appropriate and just.


                           DEMAND FOR JURY TRIAL

              157. Plaintiff demands a trial by jury.



Dated:        October 26, 2023
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                                   /s/ Joseph P. McClelland
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